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                 IN THE UNITED STATES DISTRICT COURT
                FOR THE EASTERN DISTRICT OF VIRGINIA
                             Richmond Division


JEANETTA LEE,


     Plaintiff,

V.                                            Civil Action No. 3:18-cv-508

HENRICO COUNTY,

     Defendant.


                             MEM0R2UHDT}M OPINION


     This   matter   is    before    the    Court   on    Defendant's      MOTION   TO

STRIKE   SUBSTANTIVE      CHANGES    TO    ERRATA   SHEET     (EOF   No.   43)   (the

"MOTION"). For the reasons set forth on the record at the Final

Pretrial Conference, and as set out more fully below, the MOTION

will be granted in part and denied in part.

                                    BACKGROUND


     The    MOTION   arises    in     the    course      of   a   Title    VII   race


discrimination case in which           Jeanetta Lee ("Lee") alleges that

Henrico County discriminated against her on the basis of her race

when she was not selected for promotion.                  Lee also alleges that

Henrico County retaliated against her in violation of Title VII.

See generally Am. Compl. (ECF No. 33). Following her deposition in

the case. Lee filed an errata sheet on                   which    she attempted to

correct portions of her deposition transcript. See ECF No. 44, Ex.

B.
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     Henrico County objects to two changes made on Lee's errata

sheet (EOF No. 44 at 2);

     (1) The deposition transcript at page 99 ("the page 99

change") reads as follows:

            Question: "Were you aware that there's a
            grievance procedure, and do you know whether
            this   concern  you   had  would  have  been
            appropriate for filing a grievance?"

            Lee's Answer: "I was aware. And it probably
            would have been appropriate, but I didn't feel
            comfortable." (Lee dep. 99:5-10, ECF No. 44,
            Ex. A).

            On the errata sheet. Lee states: "I think I
            also added, I didn't trust it." (ECF No. 44,
            Ex. B).


     (2) The deposition transcript at page 141 ("the page 141

change") reads as follows:

            Question: "Okay. Let me ask you this question
            going back, with respect to Paula Reid, you
            don't have any reason to believe that Paula
            Reid intentionally discriminated against you;
            do you?"

            Lee's Answer: "No, I do not. . . ." (Lee dep.
            141:19-142:1, ECF No. 44, Ex. A)

            On   the   errata   sheet.   Lee   states:    "Yes,   I
            believe   it   was   intentional,            but   not
            malicious." (ECF No. 44, Ex. B).

     Henrico County moves to strike both of these changes on the

errata sheet. Lee has responded, and the matter is now ripe for

decision.
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                        Fed. R. Civ. P. 30(e)

     In relevant part. Fed. R. Civ. P. 30(e) reads:

          (1) Review/ Statement of Changes. On request
          by the deponent or a party before the
          deposition is completed, the deponent must be
          allowed 30 days after being notified by the
          officer that the transcript or recording is
          available in which:


                (A)   to   review      the    transcript        or
                recording; and

                (B) if there are changes in form or
                substance, to sign a statement listing
                the changes and the reasons for making
                them.


Fed. R. Civ. P. 30(e)(1)(emphasis added).

     Henrico County argues that the page 99 and page 141 changes

should be stricken for both procedural and substantive reasons.

ECF No. 44 at 3-5. The procedural challenge is that Lee did not

follow the requirements of Fed. R. Civ. P. 30(e) because she failed

to provide a reason for either of the requested changes.                  The

substantive   challenge   is   that   Lee    is   trying   to    change   her

deposition testimony.      ECF No.    44 at 4-5.      And, according to

Henrico County, these changes go beyond correcting typographical

errors by the court reporter. See E.I. Du Pont De Nemours & Co. v.

Kolon Indus., 277 F.R.D. 286, 297-98 (E.D. Va. 2011).

     Lee argues that, in her brief opposing summary judgment, she

did explain the two changes. ECF No. 51 at 1-2. Further, she argues

that the proposed changes either seek to clarify her understanding
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of "intentional" (an element of her claim) or add testimony she

feels the court reporter left out. ECF No. 51 at 2-4.

                                    DISCUSSION


      "[C]ourts    generally   insist    on   strict     adherence   to   the

technical requirements of [Rule 30(e)]" and "if the deponent does

not provide any reasons for a change, then the rule is violated

and   that    procedural   defect    alone    renders    the   errata   sheet

improper." Kolon Indus., 277 F.R.D. at 294-95. Further, Rule 30(e)

"permit[s].    .   .transcription     corrections,      i.e.   the   reporter

recorded the answer: 'yes' but the deponent actually said 'no.'"

Id. at 296 (internal quotations and footnote omitted).

      A. Page 99 Change

      Lee has satisfied (but just barely) Rule 30(e)'s requirements

for this change. The page 99 change does arguably provide a reason

for the proposed change: "I think I also added, I didn't trust

it." ECF No. 44, Ex. B.        That is both a stated reason (i.e. the

court reporter left a portion of my testimony out) for the page 99

change and is an acceptable (i.e. typographical omission) change

for Rule 30(e) purposes. Accordingly, the Court denies the MOTION

as to the page 99 change.

      B. Page 141 Change

      The page 141 change, on the other hand, runs contrary to Rule

30(e), and the MOTION will be granted as to this change. First,

the errata sheet provides no explanation for the necessity of the

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change, and the MOTION must be granted on this ground alone. See

Kolon Indus., 277 F.R.D. at 294-95. Lee tries to avoid this result

by arguing that her reason was provided in a separate document,

her opposition to summary judgment, citing Hambleton Bros. Lumber

Co. V. Balkin Enterprises, Inc., 397 F.3d 1217, 1224-26 {9th Cir.

2005).

     But, Hambleton does not hold that a separate document can

explain an errata sheet change. See id. Indeed, the opinion

contradicts Lee's point: "Hambleton Brothers omitted any statement

in the deposition errata explaining the corrections, despite the

fact that the plain language of the Rule requires that a statement

giving   reasons   for   the   corrections   be   included." Id.   at   1224

(emphasis added). The Court is aware of no authority for Lee's

position, and agrees that the plain text of Rule 30(e) requires

the explanation be given on the errata sheet. Accordingly, Lee

failed to satisfy the requirements of Rule 30(e).

     Second, the page 141 change makes substantive changes to Lee's

original deposition testimony.         This Court has previously held

that: "It makes no sense to allow a deponent to change sworn

testimony merely because after the deposition he wishes that he

had said something other than what was said. Indeed, to adopt such

an approach    would     be to set at naught the efficacy of the

deposition process." Kolon Indus., 277 F.R.D. at 297. Here, Lee

completely contradicts her deposition testimony, changing her
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answer from "no" to "yes" when asked if she thought she had been
intentionally discriminated against.        As explained more fully in
the Kolon Industries decision. Rule 30(e) does not permit such a
change.

                               CONCLUSION

        For the reasons set forth above and on the record at the

Final     Pretrial    Conference,     Defendant's     MOTION   TO   STRIKE

SUBSTANTIVE CHANGES TO ERRATA SHEET (EOF No. 43) will be granted
in part and denied in part.

     It is so ORDERED.




                                                    /s/
                                    Robert E. Payne
                                    Senior United States District Judge


Richmond, Virginia
Date: March          2019
